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13 XIAMEN JXD ELECTRONIC COMMERCE CO. LTD.,
   XIAMEN SUNNYPET PRODUCTS CO. LTD., and
14 PETSFIT INC.

15

16                             UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18                                     OAKLAND DIVISION
19

20 YUNTEK INTERNATIONAL, INC.,                        Case No. 4:20-cv-07201-JSW
21               Plaintiff,                           STIPULATION TO FURTHER EXTEND
                                                      EXPERT DEADLINES; DECLARATION
22        v.                                          OF ROBERT E. AYCOCK IN SUPPORT;
                                                      [PROPOSED] ORDER
23 XIAMEN JXD ELECTRONIC COMMERCE
   CO., LTD., XIAMEN SUNNYPET
24 PRODUCTS CO., LTD., and PETSFIT INC.,

25               Defendants.
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                STIP. TO FURTHER EXTEND EXPERT DEADLINES; DEC. OF R. AYCOCK; [PROP.] ORDER
                                   CASE NO. CASE NO. 4:20-CV-07201-JSW
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 1             In accordance with Civil Local Rules 6-2 and 7-12, the parties hereby stipulate, subject to

 2 approval of the Court, to extend pending expert deadlines shown below by approximately three

 3
     weeks or to such other dates as the Court may set, based on the following facts set forth in the
 4
     Declaration of Robert E. Aycock. The Court has not set any other pending dates, including dates
 5
     for dispositive motions, pretrial filings, a pretrial conference, or trial and has not held a claim
 6

 7 construction hearing. Granting the present stipulation therefore will not have any effect on any

 8 such pending dates, though Yuntek intends to ask the Court to schedule a Case Management

 9 Conference in the near future to schedule such dates and address certain related issues.

10             WHEREAS, counsel for Defendants is engaged in and preparing for a two week trial with
11 jury selection beginning on February 28, 2022. Additional pretrial issues in that case have arisen

12 requiring unanticipated briefing and other events that need to be addressed before the start of trial.

13 Accordingly, Defendants asked Yuntek to agree to the extension requested herein, and have

14 represented that Defendants’ counsel is not presently aware of any other scheduling conflicts that

15 will require further extensions of the schedule for expert reports and expert discovery; and

16             WHEREAS, Yuntek seeks to have this case proceed expeditiously to trial, but has agreed
17 to Defendants’ requested extension as a courtesy to accommodate their counsel’s other trial;

18             NOW, THEREFORE, the parties hereby STIPULATE, by and through their respective
19 counsel of record, subject to approval by the Court, as follows:

20             That the following proposed New Deadlines for expert discovery be adopted:
21                    Event                        Current Deadline                   New Deadline
22                                           Previously scheduled for
                                             October 7, 2021, but taken          At the Court’s earliest
     Claim Construction Hearing
23                                           off calendar by the Court           convenience
                                             and not rescheduled
24 Close of fact discovery 1                 January 28, 2022                    n/a
25 Opening Expert Reports                    February 18, 2022                   March 11, 2022
   Rebuttal Expert Reports                   March 11, 2022                      April 1, 2022
26 Close of Expert Discovery                 April 1, 2022                       April 22, 2022
27
     1
28       Subject to exceptions stated in previous orders. See Dkt Nos. 88, 90.
                                                         1
                     STIP. TO FURTHER EXTEND EXPERT DEADLINES; DEC. OF R. AYCOCK; [PROP.] ORDER
                                        CASE NO. CASE NO. 4:20-CV-07201-JSW
        Case 4:20-cv-07201-JSW Document 98 Filed 02/15/22 Page 3 of 4




 1
            There are currently no other pending dates, including dates for dispositive motions, pretrial
 2
     filings, a pretrial conference, or trial and has not held a claim construction hearing that will be
 3
     affected by these new dates.
 4
     IT IS SO STIPULATED.
 5

 6

 7 Dated: February 14, 2022                                 KIMBALL ANDERSON

 8                                                  By: /s/Robert E. Aycock
                                                    Robert E. Aycock
 9                                                  William Chadwick
10
                                                    LT Pacific Law Group, LLP
11                                                  Jen-Feng Lee

12                                                  Attorneys for Defendants XIAMEN JXD
                                                    ELECTRONIC COMMERCE CO., LTD., XIAMEN
13                                                  SUNNYPET PRODUCTS CO., LTD., and PETSFIT
                                                    INC.
14

15
     Dated: February 14, 2022                               RIMON, P.C.
16
                                                    By: /s/ Matthew H. Poppe
17                                                  Matthew H. Poppe
                                                    Attorneys for Plaintiff, YUNTEK
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                                                    INTERNATIONAL, INC.
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                   STIP. TO FURTHER EXTEND EXPERT DEADLINES; DEC. OF R. AYCOCK; [PROP.] ORDER
                                      CASE NO. CASE NO. 4:20-CV-07201-JSW
     Case 4:20-cv-07201-JSW Document 98 Filed 02/15/22 Page 4 of 4




 1                                  [PROPOSED] ORDER

 2      PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4              February 14
        Dated: ________________, 2022                __________________________
                                                     United States District Judge
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             STIP. TO FURTHER EXTEND EXPERT DEADLINES; DEC. OF R. AYCOCK; [PROP.] ORDER
                                CASE NO. CASE NO. 4:20-CV-07201-JSW
